     Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 1 of 13



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

COX COMMUNICATIONS, INC., et al.,
                                     Case No. 1:19-mc-00144
                 Movants,
                                     Underlying Litigation:
           v.
                                     Sony Music Entertainment, et. al. v. Cox
THE RECORDING INDUSTRY               Communications, Inc., et al., Case No. 18-cv-
ASSOCIATION OF AMERICA,              00950-LO-JFA (E.D. Va.)

                 Respondent.


             COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS
    REPLY MOTION TO COMPEL THE RIAA’S COMPLIANCE WITH COX’S
                     SUBPOENA DUCES TECUM

                            (REDACTED VERSION)
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 2 of 13




I.     INTRODUCTION

       Cox moved this Court to order the RIAA to produce a single category of documents in

response to Cox’s third-party document subpoena—reports generated by ISPs and sent to the

RIAA relating to the effectiveness of the Copyright Alert System (“CAS”), a program developed

to respond to online copyright infringement that was endorsed by the major ISPs, content owners,

the MPAA, and the RIAA itself. Whether CAS was effective at curbing online copyright

infringement has critical relevance to the underlying Sony v. Cox litigation because the Sony

plaintiffs have taken the position that Cox failed to take reasonable measures to respond to alleged

infringement on its network, while at the same time many of the Sony plaintiffs themselves and

their agent the RIAA signed onto CAS, which was less stringent than Cox’s “graduated response”

for interacting with subscribers who were the subject of infringement notices, and yet was touted

as the industry standard for detecting and responding to online copyright infringement. The RIAA

does not grapple with this argument head-on, instead relying on superficial and flawed arguments

that CAS is an irrelevant “private agreement” and that the court in the underlying litigation

somehow “already ruled” on the propriety of Cox’s document requests.

       Furthermore, the RIAA sidesteps the most critical issue—whether it is in possession of

these reports and whether it would be burdensome to produce them—and instead argues primarily

that Cox delayed in seeking this relief and that this is the incorrect venue for this dispute. Because

neither of these procedural arguments have merit, and because the RIAA has also failed to rebut

the fact that these reports—like CAS itself—is highly relevant to the underlying dispute, Cox’s

Motion to Compel should be granted.




                                                  1
         Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 3 of 13



II.     ARGUMENT

        A.       Cox’s Motion is Not “Untimely”

        Generally, courts in this District permit discovery motions to be heard after the close of

discovery as long as there is an appropriate reason for the timing, which Cox has established here.

Barnes v. D.C., 289 F.R.D. 1, 20 (D.D.C. 2012). Contrary to the RIAA’s claim that Cox offered

“no justification” for filing the present motion in August, the timeline set forth in Cox’s opening

brief shows that Cox attempted to obtain these same documents from the Sony plaintiffs, but was

rebuffed at every turn—including most recently in July 2019. See Mot. at 5. Cox should not be

faulted for seeking these documents from the Sony plaintiffs before moving to compel them from

a third party.

        Furthermore, the importance of these particular reports was not revealed until the parties

were well into discovery. Cox was of course aware of the CAS prior to this litigation due to the

publicity surrounding its creation and success, but did not receive any non-public CAS-related

documents in discovery until March 2, 2019,1 after the court in the underlying litigation ordered

the Sony plaintiffs to produce them.2 Subsequently, many of the Sony plaintiffs—and the RIAA—

took the position at their depositions that

                                                                               But none of these

deponents could point to any data supporting their testimony.4 Cox then requested additional



1
  See Declaration of Diana H. Leiden (“Leiden Reply Decl.”), ¶ 2.
2
  Judge Anderson in the Eastern District of Virginia ordered the Sony plaintiffs to produce the CAS
Memorandum of Understanding, the RIAA and content owners’ agreements with participating
ISPs regarding the implementation of CAS, and documents sufficient to show whether each Sony
plaintiffs was a signatory to CAS. See Gould Decl., Ex. J.
3
  See Leiden Reply Decl., Ex. A (Deposition of Christopher Bell, 92:22-94:4); Ex. B (Deposition
of David Benjamin, 83:21-84:1); Ex. C (Deposition of Jill Lesser, 71:17-21); Ex. D (Deposition
of Steven Marks, 143:12-144:24).
4
  Id.


                                                2
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 4 of 13



documents from the Sony plaintiffs relating to “the impact, if any, on levels of infringement from

the CAS, including data, reports, studies, or analyses.”5 The Sony plaintiffs refused to produce

any responsive documents on July 1, 2019, and discovery closed the following day.6

       Notably, depositions of the RIAA and other third parties prior to the close of discovery

confirmed that the RIAA is the best source of these documents. First, as noted above, none of the

Sony plaintiffs who were deposed were aware of the location of these reports or other data relating

to the effectiveness of CAS. Furthermore, on June 21, 2019, Cox took the deposition of Jill Lesser,

the former executive director of the Center for Copyright Information, an entity created to

administer CAS. Cox learned then for the first time that



                                  When it was clear that Cox would not be able to obtain the ISP

reports from the Sony plaintiffs or other third parties to rebut the Sony plaintiffs’ emerging theme

that CAS was ineffective, Cox moved to compel them from the RIAA.

       In light of this timeline, Cox has indisputably shown that it had good reason to seek these

documents outside of the discovery period. Plaintiffs’ cases are inapposite and are outside of the

District of D.C. In Hare v. Comcast Cable Commc'ns Mgmt., LLC, the plaintiff attempted to extend

the discovery deadline by seeking to take a party deposition after discovery closed without a

legitimate explanation for the delay. 564 F. App'x 23, 24 (4th Cir. 2014). In Blind Indus. Servs. of

Maryland v. Route 40 Paintball Park, the court relied on a local rule specific to the Maryland

District Court to hold that defendant’s motion to compel was belated and further found that the



5
  Motion to Compel Leiden Decl., Ex. M.
6
  Motion to Compel Leiden Decl., Ex. N.
7
  See Leiden Reply Decl., Ex. C (Lesser Dep., 62:18-63:19; 127:1-14). Cox also served a document
subpoena on Ms. Lesser, but she produced only one document and did not produce the ISP reports
at issue or any other documents relating to the effectiveness of CAS. Leiden Reply Decl., ¶ 5.


                                                 3
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 5 of 13



“belated filing is unjustified.” No. WMN–11–3562, 2012 WL 4470273, at *1-2 (D. Md. Sept. 26,

2012). In RDLG, LLC v. RPM Grp., LLC, the Western District of North Carolina found that the

plaintiff’s motion to compel discovery from the defendant, served four months after the close of

discovery, was untimely. No. 1:10CV204, 2012 WL 3202851, at *1 (W.D.N.C. Aug. 6, 2012).

       B.      The RIAA Should Be Compelled to Produce the Reports Concerning the
               Effectiveness of CAS

       The RIAA should be compelled to produce the monthly reports it received from the CAS-

participating ISPs because they are “relevant, non-privileged, and not obtainable from other

sources.” Amicus Commc’ns, L.P. v. Hewlett-Packard Co., No. 99-0284 HHK/DAR, 1999 WL

33117227, at *3 (D.D.C. Dec. 3, 1999). Under Fed. R. Civ. P. 26(b), which is applicable to Rule

45 subpoenas, “[p]arties may obtain discovery regarding any nonprivileged matter that is relevant

to any party’s claim or defense,” taking into account the importance of the information, burden to

the producing party, and other factors. Generally, “relevance is liberally construed.” See In re

Denture Cream Prod. Liab. Litig., 292 F.R.D. 120, 123 (D.D.C. 2013) (citing Fed. R. Civ. P 26).

And “[l]imiting discovery and quashing subpoenas pursuant to Rule 26 and/or Rule 45 goes against

courts' general preference for a broad scope of discovery.” See Ecomission Sols., LLC v. CTS

Holdings, Inc., No. MISC. 16-1793 (EGS), 2016 WL 4506974, at *1 (D.D.C. Aug. 26, 2016)

(citations omitted).

       As detailed in Cox’s initial motion and above, the reports are highly relevant to the Sony

litigation.8 At the heart of the underlying litigation is the Sony plaintiffs’ charge that Cox did not

sufficiently respond to notices of alleged copyright infringement on its network.9 Indeed, an

important battleground in the underlying litigation will be whether Cox’s multi-step “graduated


8
 See Cox’s Motion to Compel at 6-9.
9
 See Leiden Reply Decl., Ex. A (Sony Plaintiffs’ Amended Complaint at ¶¶ 82-83, 85-87, 92, 94-
96).


                                                  4
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 6 of 13



response” system was an appropriate response to copyright infringement notices sent to Cox by

content owners. See Mot. at 3. During the same time period at issue in this case, the RIAA and a

number of the Sony plaintiffs signed onto the CAS—which required participating ISPs to develop

and implement copyright alert programs to respond to notices received from copyright claimants—

and negotiated individual implementation agreements with each ISP. See Mot. at 2-3. Being able

to compare the effectiveness of what Cox did to what the RIAA expected five other major ISPs to

do is highly relevant to Cox’s defenses—particularly given that Cox’s graduated response process

was more stringent than CAS in several respects, including that it resulted in the termination of

service for certain “repeat infringers.” Id. at 3.

        The RIAA fails to grapple with this argument head-on in its opposition, instead brushing

off CAS because it did not create “legal obligations” on the part of its member ISPs and claiming

that “[t]he attitudes and actions of Cox’s competitors, whether in connection with CAS or

otherwise, are irrelevant.” Opp’n at 8-9. This, of course, misses the point entirely. Cox’s defenses

are not predicated on a comparison between its conduct and the conduct of other major ISPs—it

seeks to prove that the RIAA and the Sony plaintiffs are attempting to hold Cox to a standard

higher than it expected of the CAS-participant ISPs when they voluntarily signed onto CAS.




                                                     5
Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 7 of 13
           Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 8 of 13



plaintiff’s motion to compel upon finding that the requested discovery was relevant and there was

no undue burden in producing it because it was not “unreasonably cumulative or duplicative” and

plaintiff could not have “obtained it from some other source”); see also In re Micron Tech., Inc.

Sec. Litig., 264 F.R.D. 7, 9 (D.D.C.2010) (“[t]he burden lies on the party resisting discovery to

show that the documents requested are either unduly burdensome or privileged”). Cox seeks to

compel the production of a precise set of documents that the RIAA received from known senders

(the five CAS-participant ISPs), as detailed in the Implementation Agreements. The request is

also for a set and narrow period of time, and the volume of reports the RIAA would have to produce

is low because the ISPs were required to submit the reports to the RIAA only on a monthly basis.

See Mot. at 7-8. In short, the RIAA cannot—and has not even attempted to—show that producing

the ISP reports would be burdensome at all.13

          C.     This Court Can and Should Rule on Cox’s Motion to Compel

          Cox properly filed this Motion in this District of D.C. pursuant to Federal Rule of Civil

Procedure 45 because the RIAA is headquartered here. See Fed. R. Civ. P. 45(d)(2)(B)(i) (“the

serving party may move the court for the district where compliance is required for an order

compelling production or inspection.”). Rule 45(f) gives courts discretion to transfer such motions

to the court presiding over the underlying litigation “if the person subject to the subpoena consents

or if the court finds exceptional circumstances.” Fed. R. Civ. P. 45(f). Therefore, the fact that the

RIAA “consents” to have this Motion heard by the Eastern District of Virginia is not dispositive.

Nor has the RIAA shown that “exceptional circumstances” exist to warrant a transfer here.

          First, this Court is well-equipped to hear and resolve Cox’s motion, and, indeed, “it should

not be assumed that the issuing court is in a superior position to resolve subpoena-related motions.”



13
     The RIAA similarly does not claim that the ISP reports are privileged. See Mot. at 8-9.


                                                   7
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 9 of 13



Fed. R. Civ. P. 45(f) advisory committee’s note (2013 amendments); see also Judicial Watch, Inc.

v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014) (noting that a court must not make this

assumption). Unlike in the cases relied on by the RIAA, deciding whether or not to enforce Cox’s

subpoena duces tecum against the RIAA does not require an in-depth understanding of the full

breadth of the underlying substantive issues in the Sony litigation. Cf. Home Loan Mortg. Corp.

v. Deloitte & Touche LLP, No. 15–mc–568 (RMC), 2015 WL 3413540, *3 (D.D.C. May 28, 2015)

(requiring the court to conduct a “nuanced legal analysis” to determine relevance because

defendant invoked qualified executive privileges in the underlying litigation); see also Judicial

Watch, Inc. v. Valle Del Sol, Inc., 307 F.R.D. 30, 34 (D.D.C. 2014) (finding that exceptional

circumstances existed where the underlying case had been “pending for four years” and the court

had “already ruled on issues presented by the motion”) (citing Fed. R. Civ. P. 45(f)); Wultz v. Bank

of China, Ltd, 304 F.R.D. 38, 46 (D.D.C. 2014) (finding exceptional circumstances existed where

the decision would “inevitably disrupt” six related cases).

       As set forth above, and in its opening brief, Cox seeks to compel the RIAA to produce a

single category of documents, and it is not necessary that this Court be familiar with the entire

background of the Sony plaintiffs’ case against Cox in order to determine whether the documents

are relevant or whether the RIAA has satisfied its burden to resist their production. The RIAA

provides no explanation for why resolving this motion would require the Court to have an intimate

understanding of CAS “in the context of the broader case.” Opp’n at 13.

       Unsurprisingly, this Court has previously heard and granted numerous motions to compel

non-parties’ compliance with a subpoenas duces tecum rather than transferring the motions to the

issuing court. See e.g., Amicus Commc'ns, L.P. v. Hewlett-Packard Co., No. 99-0284 HHK/DAR,

1999 WL 33117227, at *2 (D.D.C. Dec. 3, 1999); GFL Advantage Fund, Ltd. v. Colkitt, 216 F.R.D.




                                                 8
        Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 10 of 13



189, 197 (D.D.C. 2003); United States Sec. & Exch. Comm'n v. Brown, No. CV 09-1423 (GK),

2010 WL 11602637, at *1 (D.D.C. Sept. 29, 2010). Cox also notes that the Northern District of

California has previously presided over Cox’s motion to compel another third party in this case,

MarkMonitor, to comply with Cox’s document and deposition subpoenas in the same underlying

litigation.14

        Second, there is no risk of “inconsistent rulings” here. As set forth above, the court in the

underlying litigation has not ruled on the relevance of the ISP reports sought by Cox in this Motion,

and certainly has not ruled on the propriety of the RIAA producing them. The RIAA’s cases are

distinguishable. In Agincourt Gaming, LLC v. Zynga, Inc., the court granted the transfer motion

because it lacked “jurisdiction to rule on the pending subpoena-related motions to the extent they

relate to the Individual Respondents” and refused to make a judicial economy determination

because it “lack[ed] authority to do so.” No. 2:14-CV-0708-RFB-NJK, 2014 WL 4079555, at *4

(D. Nev. Aug. 15, 2014). In F.D.I.C. v. Everest Reinsurance Holdings, Inc., which concerned 23

document requests, the court granted the transfer motion on judicial efficiency grounds because

“the case law in this District appears to conflict with case law” in the district where the underlying

case was being litigated and the requests directly concerned the underlying court’s summary

judgment ruling. No. 13 MISC. 381 KPF, 2014 WL 260589, at *2 (S.D.N.Y. Jan. 23, 2014). Cox’s

present request does not similarly affect any of the Eastern District of Virginia’s prior rulings in

the underlying litigation.

        Furthermore, the RIAA’s claim that Cox has previously sought to enforce compliance with

a subpoena to the RIAA in the Eastern District of Virginia is blatantly false. Opp’n at 12 n.3 (“Cox




14
  See Cox Communications, Inc., et al v. MarkMonitor, Inc., Case No. 3:19-mc-80050-SK
(N.D.Cal. 2019).


                                                  9
          Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 11 of 13



itself has previously sought relief in the EDVA over its deposition subpoenas to RIAA.”) In the

motion referenced by the RIAA, Cox sought leave to take additional depositions of additional third

parties, including the deposition of one RIAA representative involved with critical correspondence

with Cox who the RIAA had refused to designate as a 30(b)(6) witness (as well as other third

parties such as Ms. Lesser).15 Given that this was a motion to alter the scheduling order in the

underlying litigation, and that it was not a motion to compel the RIAA’s compliance with any

subpoena, Cox of course could not have brought that motion in the District of D.C.

         Third, the RIAA’s argument that having this Court decide Cox’s motion would disrupt the

“discovery timeline of the underlying litigation” has no merit. See Opp’n at 13 (citing Google,

Inc., v. Digital Citizens Alliance, No. 15–00707 JEB/DAR, 2015 WL 4930979, at *3 (July 31,

2015 D.D.C.)). As the RIAA repeatedly points out in its opposition, discovery in the Sony

litigation has already closed, so it is difficult to see how this Court’s decision could possibly

“interfere[] with the discovery timeline of the underlying litigation.” Google, 2015 WL 4930979,

at *3. Nor would a decision in Cox’s favor affect the Eastern District of Virginia’s ability to make

a summary judgment determination. The reports at issue are not the subject of Cox’s or the Sony

plaintiffs’ summary judgment arguments and a decision on Cox’s motion here would not prevent

the Sony litigation from continuing. As set forth above, Cox had good reason to file this motion

to compel when it did, and the fact that the Sony plaintiffs refused to produce the reports at issue

should not prevent Cox from compelling them from the RIAA and using them at trial.

III.     CONCLUSION

         For the reasons stated in its Motion and above, Cox respectfully requests the Court retain

its proper jurisdiction over, and grant, Cox’s Motion to Compel.



15
     See Gould Decl., Exs. C & D.


                                                10
      Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 12 of 13




Dated: September 11, 2019                     Respectfully submitted,

                                              /s/ Thomas M. Buchanan
                                              Thomas M. Buchanan (Bar No.
                                              337907)
                                              WINSTON & STRAWN LLP
                                              1700 K Street, NW
                                              Washington, DC 20006-3817
                                              Tel: (202) 282-5787
                                              Fax: (202) 282-5100
                                              Email: tbuchana@winston.com

                                              Attorney for Petitioners Cox
                                              Communications, Inc. and CoxCom,
                                              LLC




                                    11
       Case 1:19-mc-00144-APM Document 11 Filed 09/16/19 Page 13 of 13



                               CERTIFICATE OF SERVICE

       I certify that on September 11, 2019, a copy of the foregoing Cox’s Reply Memorandum

in Support of Its Motion to Compel the RIAA’s Compliance with Cox’s Subpoena Duces

Tecum, and the Declaration of Diana Hughes Leiden in Support of Its Motion to Compel the RIAA’s

Compliance with Its Subpoena Duces Tecum, and supporting exhibits A-D were served by email

and via Federal Express on the following:

Jeffrey M. Gould
Oppenheim + Zebrak, LLP
4530 Wisconsin Avenue, N.W., 5th Floor
Washington, DC 20016
Tel.: (202) 851-4526
Email: jeff@oandzlaw.com

Counsel for both the Respondent Recording
Industry Association of America and
Plaintiffs in the underlying action
pending in the Eastern District of Virginia
(Case No. 18-cv-00950-LO-JFA)




                                                 /s/ Thomas M. Buchanan
                                                 Thomas M. Buchanan (Bar No. 337907)
                                                 WINSTON & STRAWN LLP
                                                 1700 K Street, N.W.
                                                 Washington, D.C. 20006-3817
                                                 Tel: (202) 282-5787
                                                 Fax: (202) 282-5100
                                                 Email: tbuchana@winston.com

                                                 Attorney for Movants Cox Communications,
                                                 Inc. and CoxCom, LLC
